  Case 17-11312-CMG           Doc 32      Filed 04/05/17 Entered 04/06/17 10:51:42              Desc Main
                                         Document      Page 1 of 2



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-2(c)
                                                                           Order Filed on April 5, 2017
                                                                                     by Clerk
                                                                             U.S. Bankruptcy Court
                                                                             District of New Jersey




    In re:                                                 Case No.             17-11312

         Keith and Jennifer Stewart,                       Judge                CMG

                      Debtors.                             Chapter               7

                                                           Hearing Date:         4/4/17

                                             ORDER REINSTATING CASE


   The relief set forth on the following page is hereby ORDERED.




DATED: April 5, 2017
Case 17-11312-CMG         Doc 32      Filed 04/05/17 Entered 04/06/17 10:51:42            Desc Main
                                     Document      Page 2 of 2
(Page 2)
Debtor:                Keith and Jennifer Stewart
Case No.:              17-11312 (CMG)
Caption of Order:      Order Reinstating Case


       THIS MATTER having been presented to the Court by Debtors, Keith and Jennifer

Stewart, and, for good cause it is

       IT IS HEREBY ORDERED as follows:

  1. The case is reinstated effective as of April 4, 2017.

  2. The deadline for the United States Trustee, the Chapter 7 Trustee, creditors and parties
     in interest to object to the Debtors’ discharge and/or the dischargeability of a debt is hereby
     extended to June 16, 2017.

  3. Debtors must serve this Order upon United States Trustee, the Chapter 7 Trustee, a l l
     creditors, and parties in interest via first class mail within seven (7) days of its entry.

  4. Debtors will file a proof of service certifying that they have complied with paragraph 4 of
     this Order within ten (10) days of the entry of this Order.

  5. Failure to comply with the terms of the Order may result in dismissal of the case.
